         Case 3:10-cr-00005-RLY-CMM                                Document 420                  Filed 02/09/12               Page 1 of 2 PageID #:
                                                                         1970
                            ! "#$               %&'(' 


                                                %)*+(**+()* )!*!                                                     *
                                                                                   ,
                                                              Southern District of Indiana
                                                            ----------(----------

                            . 
                                                                                      
                              Johnny Wilbourn                                         
                                                                                           ! %/ 3:10CR00005-010
                                                                                             %/ 09350-028
( '0. /                                   07/26/2011               
(  .  0. /                                                          None
    8VH'DWHRI/DVW$PHQGHG-XGJPHQWLI$Q\                                                'HIHQGDQW¶V$WWRUQH\


                       25'(55(*$5',1*027,21)256(17(1&(5('8&7,21
                                38568$177286& F 
          1. ✔  u ,    u , ( , 2  u ,     !
"#$ ,  ..1. .1 &  '    ,,
& 3 '4& '5  .   &4,      !..1  !
"667,   ,.78, 1'4 .  , 9" 2 :
,    ,   ! "#$$#7,  ; ,, 4 11'&' 7
,7,625'(5(',, ./
           ✔ (+%)+(  u 9 %*+(,   <1 '4.1    .1.  DVUHIOHFWHGLQ
           u
WKHODVWMXGJPHQWLVVXHG                     .,LVUHGXFHGWR
                                                     &RPSOHWH3DUWV,DQG,,RI3DJHZKHQPRWLRQLVJUDQWHG




                                       A CERTIFIED TRUE COPY
                                       Laura A. Briggs, Clerk
                                       U.S. District Court
                                       Southern District of Indiana

                                       By
                                                             Deputy Clerk




+; 1, 5 1  7''1 , =.                                                               ,'' .  
,7,66225'(5('

 ( /               02/09/2012
                                                                                                                    -XGJH¶VVLJQDWXUH


+  ( /                                           The Honorable Richard L. Young
                          LIGLIIHUHQWIURPRUGHUGDWH                                                            3ULQWHGQDPHDQGWLWOH



> ' , 5  7,     , ,''&   :4   
Case 3:10-cr-00005-RLY-CMM           Document 420       Filed 02/09/12      Page 2 of 2 PageID #:
                                           1971



 Addendum to Order Pursuant to 18 U.S.C. § 3582(c)

           3:10CR00005-010
 Cause No. _____________________

           Johnny Wilbourn
 Defendant _____________________


 As directed by 18 U.S.C. ' 3582(c)(2), the Court has considered the relevant factors in U.S.S.G. '
 1B1.10(b) and 18 U.S.C. ' 3553(a), and determined a sentence reduction is not appropriate for the
 following reason(s):

 _____ 1) The defendant is not eligible for a reduction because the amendments listed in
       subsection (c) of U.S.S.G. ' 1B1.10 are not applicable to the defendant.

   ✔ 2) The amendment is listed in subsection (c) of U.S.S.G. ' 1B1.10 and is applicable to the
 _____
       defendant, but it does not have the effect of lowering the defendant=s applicable guideline
       range (e.g. a statutory mandatory minimum term of imprisonment, binding plea agreement,
       career offender status).

 _____ 3) The defendant is eligible for a reduction under this amendment, but the Court has
       determined such a reduction is not appropriate because of the nature and seriousness of the
       danger to any person or the community that may be posed by a reduction in sentence.
       (Application Note 1(B) of U.S.S.G. ' 1B1.10.)

 _____ 4) The defendant is eligible for a reduction under this amendment. However, the Court
       has determined the post-sentencing conduct demonstrates the defendant may pose a danger
       to any person or the community by a reduction in sentence. (Application Note 1(B) of
       U.S.S.G. ' 1B1.10.)

   ✔
 _____ 5) Other (explain)

        ________________________________________________________________________
        The base offense level is not lowered by the amendment. It is the same as at the time of
        sentencing.
        ________________________________________________________________________

        ________________________________________________________________________

        ________________________________________________________________________
